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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION
UNITED STATES OF AMERICA

-vs-                                                             Case # 3:09cr13-001LAC

KENNETH JEROME HENDERSON
                                                                 USM # 07098-017

                                                                 Defendant’s Attorney:
                                                                 Randall Lockhart (AFPD)
                                                                 3 West Garden Street, Suite 200
                                                                 Pensacola, Florida 32502
__________________________________
                            JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Counts One and Two of the Indictment on February 20, 2009.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
       TITLE/SECTION                         NATURE OF                     DATE OFFENSE
          NUM BER                             OFFENSE                       CONC LUDED             COUNT

 21 U .S.C . §§ 841(a )(1),       Conspiracy to Distribute and             February 3, 2009         One
 (B)(1)(A)(ii) and 846            Posse ss w ith Intent to Distribute
                                  5 Kilogram s or Mo re of a
                                  Mixture and Substance
                                  Containing a Detectable Amount
                                  of Cocaine

 21 U.S.C. §§                     Conspiracy to Import into the            February 3, 2009         Two
 960(b)(1)(B)(ii) and 963         United States 5 Kilograms or
                                  More of a Mixture and
                                  Substance Containing a
                                  Detectable Amount of Cocaine

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts Three, Four and Five dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                 Date of Imposition of Sentence:
                                                                 May 12, 2009
                                                                 s /L.A. Collier
                                                                 LACEY A. COLLIER
                                                                 SENIOR UNITED STATES DISTRICT JUDGE
                                                                 Date signed May 15, 2009
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                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 209 months as to Counts One and Two, with Counts to run
concurrently one with the other.

         The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                       UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                             SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of Five Years as to Counts One and Two, with Counts to run concurrently one with the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defendant shall report to the probation officer and shall subm it a truthful and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         ass ociate with any person convicted of a felony unless granted permission to do so by the probation
         officer;
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10.      The defendant sha ll perm it a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a spec ial agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defend an t sh all notify third parties of risks that may be
         occasioned by the defendant’s c rim inal rec ord or pe rsonal histo ry or characteristic s and shall perm it
         the pro bation officer to m ak e such notification s and to confirm the defendant’s com plianc e with such
         notifica tion req uirem ent.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay an y such fine or res titution in ac cordan ce w ith the S che dule of Paym ents set fo rth in
         the C rim inal Mone tary Penalties she et of this judg m ent.
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       Upon a finding of a violation of probation or supervised release, I understand the
Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
conditions of supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.




         Defendant                                                      Date




         U.S. Probation Officer/Designated Witness                               Date
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                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                     Restitution

               $200.00                                       $0                          $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 ($100.00 each count) is imposed and is to be
paid immediately.

No fine imposed.
No restitution imposed.
